UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
TAMPA DIVISION
UNITED STATES OF AMERICA,
Vv. CASE NO. 8:17-CR-121-T-17JSS

WAYNE ST. AUBYN SMITH.

 

ORDER
This cause is before the Court on:
Dkt. 127 Pro Se Motion for Court Records

Defendant Wayne St. Aubyn Smith, pro se, requests that the
Court provide the trial transcript and sentencing transcript to Defendant for

his use in Defendant's direct appeal.

Defendant Smith proceeded pro se before this Court, with the
assistance of standby counsel (Dkt. 47).

In Defendant's appeal, Case No. 17-13968, Defendant's standby
counsel moved to withdraw and to permit Appellant to proceed pro se.
In the Motion, Defendant's standby counsel states that he has provided the

transcripts and record to Defendant Smith. (Exhibit 1).

On January 11, 2019, the Eleventh Circuit Court of Appeals granted
Appellant Smith’s motion to discharge counsel and Mark Ciaravella’s motion to
withdraw or act as standby counsel in part and denied the motions in part.
(Exhibit 2). Appellant Smith was permitted to represent himself on appeal.
Mark Ciaravella was directed to act as standby counsel, and to provided copies

of his case files to Appellant Smith.
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Defendant Smith is in custody at FCC Coleman Low. The Court needs to
determine if there is a practical problem with Defendant Smith’s ability to
retain the trial transcript and sentencing transcript for Defendant Smith’s use in
the appeal. After consideration, the Court directs Defendant Smith’s standby
counsel to confirm the date that he provided the trial transcript and sentencing
transcript to Defendant Smith, and to inquire of the Bureau of Prisons whether
Defendant Smith has still has those records and is permitted to retain the records
for his use, and file a status report to the Court within ten days of the
date of this Order. The Court will defer ruling on Defendant's Motion. Accordingly,

it is

ORDERED that Defendant Wayne St. Aubyn’s standby counsel,
Mark Ciaravella, shall file a status report within ten days that confirms
the date that counsel provided the trial transcript and sentencing transcript
to Defendant Smith, and notifies the Court of the response of the Bureau
of Prisons as to whether Defendant Smith still has the records and is
permitted to retain those records for use in the appeal. The Court’s ruling on
Defendant Smith’s Motion (Dkt. 127) is deferred.

DONE and ORDERED in Chambers in Tampa, Florida on thigsgO) day of
July, 2019.

   

 

 
 

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Copies to:
Mark Ciaravella, Esq.

AUSA Charles Connally

Pro Se Defendant:
Wayne St. Aubyn Smith

Reg. # 42332-066

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FCC Coleman Low A-2

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